 

 

Case 1:17-cr-00034-.]RH-BKE Document 192 Filed 12/19/17 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT

FOR THE SOU'I`HERN DISTRICT OF GEORGIA

AUGUSTA DlvlsIoN
UNITED sTATEs oF AMERICA )
)
v. ) CR 117-034
)
REALITY LEIGH WINNER )
oRDER

For the reasons stated on the record during today’s unclassified hearing, the Court
hereby STAYS all CIPA deadlines listed in the Fourth Amended Scheduling Order. After a
final ruling on the discovery appeal to be filed by Defendant, the Court will enter a revised
scheduling order including, without limitation, final deadlines for Defendant’s revised Rule
17 subpoenas, Defendant’s revised CIPA § 5 notice, the government’s CIPA § 6(a) motion,
and response and reply briefs regarding said motion. The discovery appeal must be filed
within twenty-one days of the date the discovery hearing transcript is filed, and the
government’s response shall be due fourteen days after the defense filing.

With respect to all remaining pretrial motions referred to the undersigned, the Court
will conduct a hearing to consider any motions the parties have not been able to resolve.
Following their conference on December 27, 2017, the Court DIRECTS defense counsel and
the government to file a joint status report by January 10, 2018, listing by title and docket
number all unresolved pretrial motions. Defendant’s reply brief in support of any such listed
motions shall be filed on or before January 24, 2018. F or the convenience of the parties, the
Court has attached to this Order two sample formats for the joint status report. The Court
will require attendance at a hearing on any motion listed as unresolved and may require
supplemental briefing prior to such hearing. The parties should only list motions over Which

the parties disagree. Motions not listed will be deemed resolved or Waived.

 

 

 

l Case 1:17-cr-00034-.]RH-BKE Document 192 Filed 12/19/17 Page 2 of 4

Concerning the issue of defense Internet searches, the Court will conduct a classified
status conference with defense counsel and counsel for the NSA on January 23, 2018, at
10:00 a.m., at the Federal Justice Center, 600 J ames Brown Boulevard, Augusta, Georgia.

SO ORDERED this 19th day of December, 2017, at Augusta, Georgia.

d /<.z;,»/

BRIAN K_ F_P/Ps
UNHED srArEs MAGISTRATE JUDGF.
soum£in~t Drsrmcr or- oEoRGIA

 

 

 

Case 1:17-cr-00034-.]RH-BKE Document 192 Filed 12/19/17 Page 3 of 4

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

 

AUGUSTA DIVISION
UNITED STATES OF AMERICA )
v. § CR 1 l7-xxx
DEFENDANT A §
)
JOINT STATUS REPORT

 

The United States of America, through the undersigned Assistant United States
Attorney, and Defendant, through her attorney, state that all pretrial motions have been
satisfied or otherwise resolved.

This day of , 2018, at Augusta, Georgia.

 

/s/ Assistant United States Attorney

/s/ Defense Counsel

EXHIBIT A

 

 

 

Case 1:17-cr-00034-.]RH-BKE Document 192 Filed 12/19/17 Page 4 of 4

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

 

AUGUSTA DIVISION
UNITED STATES OF AMERICA )
v. § CR ll7-xxx
DEFENDANT A §
)
JOINT STATUS REPORT

 

The United States of America, through the undersigned Assistant United States
Attorney, and Defendant, through her attorney, state that they have not been able to resolve
the following pretrial motion(s) and will require a ruling from the Court to settle the actual
controversy or dispute:

0 Motion to Suppress Doc. no. 8

0 Motion for Severance Doc. no. 10

We understand that the Court will require attendance at a hearing on any listed motion
and may require supplemental briefing prior to such hearing We also understand that we
will be required to explain to the Court what steps were taken to attempt to resolve the
motion(s) without Court intervention

This _ day of , 2018, at Augusta, Georgia.

/s/ Assistant United States Attornev

/s/ Defense Counsel

EXHIBIT B

 

